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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


VANESSA WILKINS, VICTORIA POUNCY,                      Civil Case No.: 6:17-cv-1342-Orl-37GJK
ANNETTE STAPLETON, AND SHANNON
STAPLETON,
                                                                   CIVIL ACTION
                       Plaintiff(s),
                                                         FIRST AMENDED COMPLAINT
                                                                   AND
                     -against-                             DEMAND FOR JURY TRIAL

MARISSA STAPLETON,

                       Defendant(s).

       Plaintiffs, VANESSA WILKINS, VICTORIA POUNCY, ANNETTE STAPLETON,

AND SHANNON STAPLETON, (hereinafter “Plaintiffs”) by and through their undersigned

attorney, alleges against the above-named Defendant, MARISSA STAPLETON, the following:

                                 PRELIMINARY STATEMENT

       1.      Plaintiffs bring this action for damages resulting Defendant's actions, including

but not limited to: Breach of Trust; Breach of Fiduciary Duty; Fraud; Constructive Fraud; Civil

Theft; and Tortious Interference with Estate Planning.

                                 JURISDICTION AND VENUE

       2.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332 in that this

matter is: (i) a civil action wherein the matter in controversy exceeds $75,000.00, exclusive of

interest and costs; (ii) is between citizens of different states; (iii) and supplemental jurisdiction

over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.
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         3.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because the acts and

transactions that give rise to this action occurred, in substantial part, in this district.

                                               PARTIES

         4.     Plaintiff, Vanessa Wilkins is a natural person and a citizen of Queens County,

State of New York.

         5.     Plaintiff, Victoria Pouncy is a natural person and a citizen of Spotsylvania

County, State of Virginia.

         6.     Plaintiff, Annette Stapleton is a natural person and a citizen of Gwinnett County,

State of Georgia.

         7.     Plaintiff, Shannon Stapleton is a natural person and a citizen of Nassau County,

State of New York

         8.     Defendant, Marissa Stapleton is a natural person and citizen in Orlando County,

Florida.

                                      FACTUAL ALLEGATIONS

         9.     On July 15, 2016, James Stapleton passed away.

         10.    At the time of Decedent's death, he resided in Orlando, Florida.

         11.    Prior to his death, Decedent executed the Revocable Trust of James Stapleton,

dated June 23, 2003. (hereinafter the "Trust") Exhibit A.

         12.    Decedent was the Trustee of the Trust at the time of execution.

         13.    Decedent appointed Marissa Stapleton as Successor Trustee in Article 4.02 of the

Trust.

         14.    On August 25, 2008, Decedent executed an AMENDMENT of THE

REVOCABLE TRUST AGREEMENT. Exhibit B.
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       15.     Each plaintiff named herein is a beneficiary of the JAMES STAPLETON

REVOCABLE TRUST dated June 23, 2003 and amended on August 25, 2008.

       16.     On August 25, 2008, executed a pour-over Last Will and Testament. Exhibit C.

       17.     Pursuant to ARTICLE 4 of his Last Will and Testament, Decedent's "Residuary

Estate" was to be distributed to the James Stapleton Revocable Trust, dated June 23, 2003.

       18.     Pursuant to Article 5 of his Last Will and Testament, decedent appointed Marissa

Stapleton as his Personal Representative.

       19.     On or about March 1, 2014, Decedent executed a Power of Attorney appointing

Marissa Stapleton as his agent-in-fact.

       20.     Plaintiffs are third-party beneficiaries of the Power of Attorney.

       21.     Defendant owed a fiduciary duty decedent.

       22.     Defendant owed a fiduciary duty to the Plaintiffs.

       23.     Between March 1, 2014 and July 15, 2016, Defendant acting in her capacity as

agent-in-fact of the Decedent, transferred assets outside of Decedent's estate, which otherwise

would have passed to Plaintiffs through the Trust.

       24.     Between March 1, 2014 and July 15, 2016, Defendant acting in her capacity as

agent-in-fact of the Decedent, transferred assets outside Decedent's estate, for her own personal

benefit.

       25.     Upon information and belief, Plaintiffs estimate such transfers exceed $500,000.

       26.     Plaintiffs have requested a full accounting of Decedent's assets during the period

of time, which Defendant acted as Decedent's agent-in-fact.

       27.     Defendant has denied such requests.
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                                             COUNT I

                                    CONSTRUCTIVE FRAUD

        28.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney was in a

fiduciary relationship Decedent.

        29.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney was in a

confidential relationship Decedent.

        30.      Defendant knew that Plaintiffs were beneficiaries pursuant to the terms of

Decedent's Trust.

        31.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney was in a

fiduciary relationship with Plaintiffs.

        32.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Decedent.

        33.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Plaintiffs.

        34.      Defendant abused her fiduciary relationship with Decedent by self-dealing

through transferring assets for her personal use.

        35.      Defendant abused her fiduciary relationship with Decedent by self-dealing

through changing the titles of certain accounts so that such accounts would pass directly to her,

out side of the Trust and Last Will and Testament.

        36.      Defendant beached her duty to Plaintiffs by transferring assets of the Decedent for

her personal use, which otherwise would have passed to Plaintiffs.
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        37.      Defendant beached her duty to Plaintiffs by changing the titles of certain accounts

of Decedent so that such accounts would pass directly to her, outside of Decedent's Trust and

Last Will and Testament.

        38.      Defendant's actions caused certain assets to pass outside of Decedent's Trust and

Last Will and Testament.

        39.      Plaintiffs were harmed and suffered damages by Defendant's actions, as they were

unable to receive the full distribution intended by Decedent.

        40.      Upon information and belief, Plaintiffs estimate such damages exceed $500,000.

                                             COUNT II

                                BREACH OF FIDUCIARY DUTY

        41.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney was in a

fiduciary relationship Decedent.

        42.      Defendant knew that Plaintiffs were beneficiaries pursuant to the terms of

Decedent's Trust.

        43.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Decedent.

        44.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Plaintiffs.

        45.      Defendant beached her duty to Plaintiffs by transferring assets of the Decedent for

her personal use, which otherwise would have passed to Plaintiffs.

        46.      Defendant beached her duty to Plaintiffs by changing the titles of certain accounts

of Decedent so that such accounts would pass directly to her, outside of Decedent's Trust and

Last Will and Testament.
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        47.     Defendant's actions caused certain assets to pass outside of Decedent's Trust and

Last Will and Testament.

        48.     Plaintiffs were harmed by Defendant's actions, and suffered damages, as they

were unable to receive the full distribution intended by Decedent.

        49.     Upon information and belief, Plaintiffs estimate such damages exceed $500,000.

                                            COUNT III

                 TORTIOUS INTERFERENCE WITH ESTATE PLANNING

        50.     Decedent had a fixed intention of leaving a portion of his estate to Plaintiffs, as set

forth in the Trust.

        51.     Defendant abused her fiduciary relationship with Decedent by through

transferring assets for her personal use.

        52.      Defendant abused her fiduciary relationship with Decedent changing the titles of

certain accounts so that such accounts would pass directly to her, outside of the Trust and Last

Will and Testament.

        53.     But for Defendant's wrongful actions, Decedent would have carried out his

intentions of distributing his assets through the terms of his Trust.

        54.     Defendant abused her fiduciary relationship with Decedent by self-dealing

through transferring assets for her personal use.

        55.      Defendant abused her fiduciary relationship with Decedent by self-dealing

through changing the titles of certain accounts so that such accounts would pass directly to her,

out side of the Trust and Last Will and Testament.

        56.     Defendant's actions caused certain assets to pass outside of Decedent's Trust and

Last Will and Testament.
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         57.    Plaintiffs were harmed by Defendant's actions, and suffered damages, as they

were unable to receive the full distribution intended by Decedent.

         58.    Upon information and belief, Plaintiffs estimate such damages exceed $500,000.

                                              COUNT IV

                                            CIVIL THEFT

         59.    Defendant knowing used her position as agent-in-fact via the 2014 power of attorney

to obtained certain assets from Decedent's estate, which otherwise would have passed through his

Trust.

         60.    Defendant took such action with felonious intend to permanently deprive Plaintiffs

of their right to the benefit of the full distribution of Decedent's Trust property.

         61.    Defendant's actions caused certain assets to pass outside of Decedent's Trust and

Last Will and Testament.

         62.    Plaintiffs were harmed by Defendant's actions, and suffered damages, as they

were unable to receive the full distribution intended by Decedent.

         63.    Upon information and belief, Plaintiffs estimate such damages exceed $500,000.


                                              COUNT IV

                                        BREACH OF TRUST

         64.    Defendant as Decedent's agent-in-fact via the 2014 power of attorney was in a

fiduciary relationship Decedent.

         65.    Defendant knew that Plaintiffs were beneficiaries pursuant to the terms of

Decedent's Trust.

         66.    Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Decedent.
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        67.      Defendant as Decedent's agent-in-fact via the 2014 power of attorney owed a duty

to Plaintiffs.

        68.      Defendant beached her duty to Plaintiffs by transferring assets of the Decedent for

her personal use, which otherwise would have passed to Plaintiffs.

        69.      Defendant beached her duty to Plaintiffs by changing the titles of certain accounts

of Decedent so that such accounts would pass directly to her, outside of Decedent's Trust and

Last Will and Testament.

        70.      Defendant's actions caused certain assets to pass outside of Decedent's Trust and

Last Will and Testament.

        71.      Plaintiffs were harmed by Defendant's actions, and suffered damages, as they

were unable to receive the full distribution intended by Decedent.

        72.      Upon information and belief, Plaintiffs estimate such damages exceed $500,000.

        WHEREFORE, Plaintiffs demand judgment against Defendant as follows:

                 (a)    Awarding actual damages;

                 (b)    Awarding statutory damages;

                 (c)    Pre-judgment interest;

                 (d)    Post judgment interest; and

                 (e)    Awarding Plaintiffs costs of this Action, including reasonable attorneys’

                        fees and expenses; and

                 (f)    Awarding Plaintiffs such other and further relief as the Court may deem

                 just and proper.



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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.


                                             /s/ Alison Kerestes
                                             Alison Kerestes
                                             Kerestes Law Firm PLLC
                                             215 East Livingston Street
                                             Orlando, FL 32801
                                             (407) 459-8415
                                             alison@keresteslawfirm.com



Dated: August 2, 2017
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                     Exhibit

                                  A
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                                      REVOCABLE TRUST

                                                  OF

                                      JAMES STAPLETON


       This TRUST Agreement is entered into by and between JAMES STAPLETON of 313

KASSIK CIR., ORLANDO, FL 32824-5808, hereinafter referred to as the Grantor, and JAMES

STAPLETON,hereinafter referred to as the Trustee.

       The Grantor hereby revokes all prior wills and codicils.



                                          WITNESSETH:

       WHEREAS,the Grantor has transferred and delivered to the Trustee the assets described and set

forth in Schedule A, which is attached hereto and is made a part hereof;

       WHEREAS, the Grantor, or any other person, shall have the right to transfer at any time

additional assets to the Trustee to be administered hereunder;

       NOW, TI-~REFORE, it is hereby agreed that the Trustee shall hold and administer all assets

which may come into this Trust in accordance with the terms, provisions, and conditions of this Trust

Agreement.



       The Trust shall be known as:

"The JAMES STAPLETON Revocable Living Trust, dated
                                                                     SUN 2 3 2003

JAMES STAPLETON,Grantor and/or Trustee."




The JAMES STAPLETON Trust                                                                          1
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                                             ARTICLE I

                DISPOSITION DURING LIFETIME OF GRANTOR

1.01   Rights of Grantor: During the lifetime ofthe Grantor, the Grantor expressly reserves to

       himself, the following rights:

       (a)    to transfer, convey, or assign any life insurance policies to this Trust;



       (b)    to add or withdraw, at any time, assets, whether personal, real or mixed, to or

       from this Trust;



       (c)    to amend or revoke, at any time, this Agreement in whole, or in part.



1.02   Tax Treatment of Revocable "Grantor's Trust": For income tax purposes, this Trust

       shall be treated as a revocable "Grantor's Trust" pursuant to IRC Section 676. All items

       of income and expense related to the assets of this Declaration of Trust or its operation

       shall be reported by the Grantor as if owned individually by him on the Grantor's

       conventional 1040 individual tax return.



1.03   Use of Trust Identification Number: As long as the Grantor is living, this entire Trust

       is revocable. The Grantor shall use the Grantor's Social Security number as the Trust

       Identification Number:



              JAMES STAPLETON                         S.S. No.         XXX-XX-XXXX




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               Upon the death of the Grantor, the entire Trust becomes irrevocable by its terms,

       and assets retained in Trust should be identified by using the Employer Identification

       Number that the IRS assigns to this Trust when filing the Trust tax return Form 1041.



               When the Trust becomes irrevocable, a Form 1041 tax return or appropriate

       alternative form, as specified by IRS regulations, shall be filed annually for income and

       expenses relating to assets retained in the irrevocable Trust.



1.04   Distribution of Income and Principal:            Unless specifically prohibited by other

       provisions of this Trust, during the Grantor's life, the Trustees) shall pay to or for the

       benefit of the Grantor, the Grantor's dependents_ and anyone else who is specifically

       authorized by the terms of this Trust to receive or benefit from such payments, such

       amounts of the income and/or principal of the Trust as the Grantor may so direct either

       verbally or in writing.



              If the Grantor becomes mentally or physically incapacitated, as defined in the

       Grantor's Competency Clause Addendum or as determined by any court of law, then the

       Trustee shall, unless specifically prohibited by other provisions ofthis Trust, pay to or for

       the benefit of the Grantor, the Grantor's dependents and anyone else who is specifically

       authorized by the terms of this Trust to receive or benefit from such payments, such

       amounts of income and principal of this Trust, as are necessary for their reasonable

       support,education, maintenance and health.




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              The Trustee shall consider, as the Trustee deems advisable and as known to the

       Trustee at the time of making such distributions, other income or resources of the

       Grantor, the Grantor's dependents or anyone else who is specifically authorized by the

       terms ofthis Trust to receive or benefit from such payments, before making distributions

       to or on behalf ofany individual.



              Any accrued or accumulated income existing in the Trust at the time ofthe death

       ofthe Grantor shall be transferred to principal ofthis Trust.



1.05   Insurance Policies: The Grantor retains the right to direct the Trustee in regard to any

       policies assigned hereunder to change the beneficiary, to assign, sell or hypothecate such

       policies; to borrow any amounts permitted by such policies; and to exercise any other

       privileges permitted by the policies. The Trustee is in no way obligated or required to pay

       any premiums on any life insurance policies held herein and all obligations or

       responsibilities to currently maintain such policies shall be at the sole discretion of the

       Grantor.



1.06   Residence: If the Grantor transfers the Grantor's residence or other real estate to the

       Trust during the Grantor's lifetime, the Trustee shall not be required to obtain any

       appraisals, maintain the property, insure the premises or pay real estate taxes thereon.




The JAMES STAPLETON Trust ~ ~                                                                        4
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                                             ARTICLE II

       TRUSTEE'S DUTIES AND RIGHTS UPON THE GRANTOR'S DEATH

2.01    Insurance: Upon the Grantor's death, the Trustee shall collect the proceeds of the life

        insurance policies on the Grantor's life which are payable to the Trustee, and shall hold

        and administer such insurance proceeds and all other property which may be in or added

        to this Trust by the Grantor's Will, or from any other source.



2.02    Expenses of Grantor's Estate: Upon the death of Grantor, the Trustee in its sole

        discretion, may:



        (a)     Distribute cash to the Grantor's estate in such amounts to pay any or all claims,

        debts, administration expenses, taxes or funeral expenses ofthe estate; such amounts may

        be distributed by the Trustee without the Trustee requiring any repayment or

        reimbursement from the estate or its beneficiaries; and/or



        (b)     Lend cash to the Grantor's estate in such amounts to pay any or all claims, debts,

        administration expenses, taxes or funeral expenses ofthe estate and to lend such amounts

         at such rates, maturity dates and upon such security as the Trustee deems advisable.



        (c)      The Trustee is hereby specifically authorized in its sole and absolute discretion to

         purchase or exchange any property of the estate at the appraised value without being

         liable for any loss.




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2.03   ether nuties and Re~nnsihilities:            The trustee of a trust may have duties and

       responsibilities in addition to those described in the instrument creating the trust. If you

       have questions you should obtain legal advise.



                                            ARTICLE III

       DISPOSITION OF TRUST ESTATE AFTER DEATH OF GRANTOR

3.01   Allocation and Distrihntion of Trust: Upon the death ofthe Grantor, and after the debts

       and other obligations and provisions of the Trust Estate have been satisfied and any

       special distributions and retentions have been made, the balance of the Trust Estate shall

       be held, managed and distributed as follows:



       (a)     nivision into Shares: Except as authorized in Sections 4.27 and 4.28 of

       ARTICLE IV or as specifically required in Section 3.01 (d) of ARTICLE III, the

       Trustee shall first make any special distributions as set forth below in that Subsection

       entitled "Special Distributions and Personal Property Distributions". The Trustee shall

       then allocate the balance of the Trust Assets into separate shares so as to provide one

       (1)share for each person named as a primary beneficiary ofthe Grantor.


        Each share shall be allocated as follows:


        Prim ry Reneficiar~v,          R .la i~n~hin t~ CTrant~r      ~.~            Percent
        VICTORIA POUNCY                CHILD                          1               11.11
        ANNETTE STAPLETON              CHILD                          1               11.11
        VANESSA WILKINS                CHILD                          1               11.11
        MARISSA STAPLETON              CHILD                          1               11.11
        SHAWANA STAPLETON              CHILD                          1               11.11
        SHANNON STAPLETON              GRANDCHILD                     1               11.11
        TASHA TOPPIN                   GRANDCHILD                     1               11.11



 The JAMES STAPLETON Trus                                                                             :~
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         TOYA TOPPIN                     GRANDCHILD                       1                11.11
         TURQUOISE TOPPIN                GRANDCHILD                       1                11.11


   (b)            Dictrihatinn of Trust: Upon the death of the Grantor, the Trustee shall retain in

         Trust, or distribute, the residual ofthe Grantor's estate as hereinafter specified.



                  Except as authorized in Sections 4.27 and 4.28 of ARTICLE IV or as specifically

         required in Section 3.01 (d) of ARTICLE III, the Trustee shall distribute those parts of

         the estate allocated to VICTORIA POUNCY, ANNETTE STAPLETON, VANESSA

         WILKINS, MARISSA STAPLETON, SHAWANA STAPLETON, SHANNON

         STAPLETON, TASHA TOPPIN, TOYA TOPPIN AND TURQUOISE TOPPIN,

         pursuant to the.rules enumerated below.



                  If a beneficiary is twenty-five (25) years of age or more, then that beneficiary

         share of the Trust assets shall be distributed outright as soon as is reasonable and

         practicable.



         (c)      Payments fnr the Benefit of: If an intended beneficiary of Trust assets is less

         than twenty-five(25) years of age,that beneficiary's share ofthe assets shall be retained in

         Trust for the benefit of that beneficiary until he or she attains the age of twenty-five (25)

         years.



                   During such times as any share is held in Trust, the Trustee shall pay to, or for the

          benefit of, the intended beneficiaries of said shares, such parts ofthe income and principal

          the Trustee deems advisable, in its absolute and sole discretion, for their health,


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      maintenance, support and education (including college, university, business, professional

      or vocational training) unless the shares hereinafter set forth specifically provide

      otherwise or until such shares are finally distributed.



              With respect to any distribution made hereunder, the Trustee need not require the

      e~austion of personal resources as a condition for making disbursements under the

      authority of this Article. The judgment of the Trustee as to the propriety and amount of

      all such payments shall be conclusive.



              The .Trustee may, however, in his or her discretion, require as a condition

      precedent to the distribution of any Trust assets for support or advancement, that the

      beneficiary furnish evidence of his or her financial condition, income, earning capacity

      and assets, in form and content satisfactory to the Trustee. The Trustee shall be entitled

      to rely upon the written certification of such beneficiary or the guardian of such

      beneficiary as to the nature and extent of such beneficiary's need for support, and the

      inadequacy of such beneficiary's resources apart from the Trust. The Trustee shall not be

      required to make fiuther inquiry as to the authenticity ofthe facts so certified.



              When a primary beneficiary attains the age of twenty-five (25) years, or at any

      time thereafter, the Trustee shall pay and distribute in cash or in kind to such beneficiary

      all ofthe assets of his or her share, upon the written request ofsaid beneficiary.



      (d)      Special Provisions: Except as specifically authorized in Sections 4.27, 4.28 and

      4.29 ofARTICLE IV,the Trustee shall abide by any Special Provisions which may be set


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               forth in this subsection. Special Provisions shall be controlling in all instances where

               they maybe in conflict with other provisions of ARTICLE-III.



              (e)     Special Distributions and Personal Property Distribution: Upon the death of

               the Grantor,the Trustee shall make the following special distributions.



                       Grantor's daughter, Marissa Stapleton, shall receive whatever house is owned by

               the Trust, whatever real estate it is situated upon and all things described in the Grantor's

               document entitled "ASSIGNMENT OF FURNITURE, FURNISHINGS AND

               PERSONAL EFFECTS".



                       Grantor's daughter, Marissa Stapleton, shall receive all the money that comes into
~~   !
               the Trust from the Nationwide life insurance policy number 4263157 as a result of the

               Trust having been named the beneficiary of said policy.



                       Grantor's daughter, Marissa Stapleton, and Grantor's step-child, Laurelle

               Williams, shall receive equal shares of all money that comes into the Trust from the

               McCoy Credit Union account number 127532.



                       The Grantor requests the Trustee to abide by "Schedule D" which is the

               Grantor's intentions directing the disposition of personal and household effects of every

               kind including, but not limited to furniture, appliances, furnishings, pictures, china,

               silverware, glass, books, jewelry, wearing apparel, and all policies of fire, burglary,

                property damage, and other insurance on or in connection with the use of this property.


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       Otherwise, the personal and household effects ofthe Grantor shall be distributed with the

       remaining assets ofthe Trust Estate.



               Except as authorized in Sections 4.27 and 4.28 of ARTICLE IV or as specifically

       required in Section 3.01 (d)of ARTICLE III, the Trustee may also, if he or she considers

       it advisable to do so; distribute or advance from said special distributions, at any time, to

       the intended beneficiaries, without interest, sufficient amounts to enable them to marry; to

       purchase a home; enter, purchase or improve a business; establish a professional office;

       take post-graduate work; purchase an automobile; or for other similar purposes. The

       Trustee's decision shall be final in all events.



               In the event that any intended beneficiary of a special distribution predeceases

       the distribution or refuses the distribution, and there is no alternate designated to

       receive that distribution, or the alternate is also deceased or refuses the distribution,

       then the portion of this Trust which has been allocated for that special distribution shall

       be included with the balance ofthe Trust Estate for division into shares.



3.02   Alternate Distribution of Shares: Except as authorized in Sections 4.27 and 4.28 of

       ARTICLE IV or as specifically required in Section 3.01 (d)of ARTICLE III, if a primary

       beneficiary ofthis Trust dies prior to a complete distribution of his or her share or refuses

       any portion of his or her share, the following rules shall be followed in determining the

       distribution of the assets which remain to be distributed or which have been refused,

       which are hereafter referred to as "said assets":




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     (a)      Any person who has been specifically disinherited and prohibited from receiving

      a portion of the Trust assets is not an eligible beneficiary and shall be ignored and treated

      as though he or she does not exist in the application ofthese rules.



     (b)      Said assets shall be divided equally among that primary beneficiary's then living

      children (issue) and his or her deceased children who have then living children (issue).

      Each resulting share shall be distributed pursuant to the rules for that share.



      (c)     If a primary beneficiary has no then living children (issue) and no deceased

      children who have then living children (issue),then said primary beneficiary's share ofthe

      Trust assets shall be divided equally among the then living primary beneficiaries and all

      deceased primary beneficiaries who have then living children (issue). Each resulting

      share shall be distributed pursuant to the rules for that share.



      (d)     If a child of a primary beneficiary dies before a complete distribution of his or

      her share or refuses any part of his or her share of the Trust assets, then said assets shall

      be divided equally among- that child's then living children (issue) and his or her

      deceased children who have then living children (issue). Each resulting share shall be

      distributed pursuant to the rules for that share.



      (e)     If a child of a primary beneficiary dies before a complete distribution of his or

      her share or refuses any part of his or her share of the Trust assets and has no then

      living children (issue) or deceased children who have then living children (issue), said

      assets shall be divided equally among all the then living children of the primary



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      beneficiary, and all deceased children of the primary beneficiary who have then living

      children (issue). Each resulting share shall be distributed pursuant to the rules for that

      share.



      (fl      If a primary beneficiary's child dies before a complete distribution of his or her

      share or refuses any part of his or her share of the Trust assets and has no then living

      children (issue) or deceased children who have then living children (issue) and if the

      primary beneficiary has no living children (issue) or deceased children who have then

      living children (issue), then said assets shall be divided equally among the then living

      primary beneficiaries and all deceased primary beneficiaries who have then living

      children (issue). Each resulting share shall be distributed pursuant to the rules for that

      share.



      (g)      In all events, the Trustee shall divide the Trust assets, for accounting purposes,

      into as many shares as are necessary to provide one equal share for each resulting

      beneficiary described above.



      (h)      Whenever a beneficiary is less than twenty-five (25) years of age, that

      beneficiary's shaxe of the assets shall be retained in Trust for the benefit of that

      beneficiary until he or she attains the age oftwenty-five(25)years.



      (i)      For all shares that are being held in Trust, the Trustee need not physically divide

      the Trust assets into shares, but may regard all shares as a single fund for investment




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           purposes if the Trustee desires. However, all distributions of income and principal

           thereafter made to any beneficiary shall be deducted from that beneficiary's respective share.



           (j)     If not specifically prohibited or otherwise altered by other terms of this Trust,

           the Trustee may, after taking into consideration the income and means of support from

           other sources that may be available to a beneficiary who is less than twenty-five (25)

           years of age, pay to such beneficiary, or to others on behalf of such beneficiary, such

           amounts of the net income and principal of that beneficiary's share, as the Trustee

           deems necessary for that beneficiary's health, welfare, maintenance, support and

           education,(including college, university, business, professional or vocational training)

           until such beneficiary reaches age twenty-five (25) or until             such share is finally

           distributed, whichever occurs first.



           (k)     With respect to any distribution made hereunder, the Trustee need not require the

           exhaustion of personal resources as a condition for making disbursements under the

           authority of this Article. The judgment of the Trustee as to the propriety and amount of

           all such payments shall be conclusive.



           (1)     The Trustee may, at his or her sole discretion and as a condition precedent to the

           distribution of any Trust assets for support or advancement, require that the beneficiary.

           furnish evidence of his or her financial condition, income, earning capacity and assets, in

           form and content satisfactory to the Trustee. The Trustee shall be entitled to rely upon the

           written certification. of such beneficiary or the guardian of such beneficiary as to the

--         nature and extent of such beneficiary's need for support, and the inadequacy of such



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       beneficiary's resources apart from the Trust. The Trustee shall not be required to make

       further inquiry as to the authenticity ofthe facts so certified.



       (m)     When a beneficiary attains the age of twenty-five (25) years, or at any time

       thereafter, the Trustee shall pay and distribute in cash or in kind to such beneficiary all of

       the assets of his or her share, upon the written request of said beneficiary.



       (n)     If at any time before final distribution of any share of this Trust, the Grantors and

       all intended beneficiaries of that share have died or ceased to exist, and no other

       disposition of the assets is directed by this instrument, then the Trustee shall distribute

       said assets pursuant to the paragraph entitled "Ultimate Distribution".




3.03   Ultimate Distribution: If at any time before final distribution of any share of this Trust

       the Grantor and all intended beneficiaries of that share shall have died or ceased to exist

       and no other disposition of the assets is directed by this instrument, the Trustee shall

       distribute said assets, including accumulated income, in accordance with the Statute of

       Descent and Distribution in effect at the time ofthe death ofthe Grantor.



                                             ARTICLE IV

                SUCCESSOR TRUSTEE AND TRUSTEE'S POWERS

4.01   Original Trustee: The original Trustee under this Declaration of Trust shall be JAMES

       STAPLETON, to serve with all of the obligations, powers, and authority contained

       within this Trust Agreement.



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4.02   Successor Trustee(s): Upon the death of the original Trustee, or if for any reason

       whatsoever he ceases to serve as Trustee hereunder, the Grantor nominates and appoints

       MARISSA STAPLETON to serve as Trustee hereunder without the approval of the

       court. If MARISSA STAPLETON is unable or unwilling to serve, or to continue to

       serve, for any reason whatsoever, then and in that event the Grantor nominates and

       appoints YOLANDA DRAYTON to serve as Trustee hereunder, without the approval of

       any court.



4.03   Co-Trustees: Powers of Successor Trustees: When two or more persons are named to

       act simultaneously with another designated Trustee, the Co-Trustees serving must act in

       concert.




4.04   Succession of Trustees: Should any one or more of those named fail to qualify or cease

       to act as Trustee,then the Trustee shall be the next one in the order named who qualifies.



4.05   Resignation of the Trustee: The Trustee may resign as Trustee at any time by so

       notifying the persons receiving Trust income payments. The Trustee shall then transfer

       all assets to a successor trustee which may be an independent trustee, corporate trustee or

       otherwise, which is selected by a majority of the Trust's income beneficiaries who are

       twenty-one (21) years or more of age. The Successor Trustee shall be vested with all

       powers and duties ofthe original Trustee.




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4.06   Selection of new Trustee:       Should all of the above-named persons be unable or

       unwilling to act as Trustee, the current income beneficiaries(or their guardians) holding a

       majority Trust interest shall select a Successor Trustee.



4.07   Powers of Trustee(s): The Trustee shall have in addition to all powers and authorities

       conferred by law, the powers set forth in the remainder of ARTICLE IV which shall be

       exercised at all times to accomplish the stated objectives and purposes of this Trust.

       Anyone serving as Successor Trustee during the life of either of the Grantor must, unless

       specifically authorized in writing by the terms of this Trust or otherwise by the Grantor,

       manage all assets and take all actions to benefit the Grantor for the remainder of the

       Grantor's life.



4.08   Borrowing: To borrow from itself or others such sums of money as may be required for

       the purposes of the Trust(s); to assure the loans by a pledge or mortgage of any of the

       bonds, stock, real estate, or other property or investments held in Trust; and to execute

       plain or collateral notes or other evidence of indebtedness therefore. The Trustee has.

       authority to mortgage or pledge Trust property to secure any personal loan being made to

       the Grantors)in his/her "individual" capacity.



4.09   Investments:

       (a)     To hold, manage, retain and administer in the Trustee's sole discretion, any

       property coming into its possession in the same form of investment as it was received by

       the Trustee even though such retention may result in an excess concentration in one class




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      of property and without incurring liability for loss of principal or income caused by the

      decline in value ofany investment;



     (b)     To sell or exchange at public or private sale, lease, pledge, mortgage, donate, .

      abandon or otherwise dispose of, deal with, or encumber(for any period oftime, whether

      or not ending during the term of the Trust), any real or personal property comprising part

      ofthe Trust estate;



     (c)     To invest and reinvest any money, whether income or principal, in bonds, stocks,

      notes, real estate mortgages, securities, mutual funds, life insurance policies, or in any

      other property, real or personal, or in a common trust fund maintained by the Trustee,

      without being limited by any laws of the State regarding investments by Trustees now or

      hereafter in effect, including interest bearing accounts in or certificates issued by any

      banking department, any money market funds maintained or offered by the Trustee, and

      specifically those funds in which the Trustee charges a separate management fee.



      (d)     To buy, sell, and trade commodities and exercise every other right, power, and

      privilege associated with this kind of activity.



      (e)     To maintain an un-invested cash reserve, without liability for interest thereon;



      (~      To hold any unproductive property and to convert unproductive property to

      productive properly or productive property to unproductive property.




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4.10   Nominee: To cause any security or property to be issued, held, transferred or registered

       in or to the name of a nominee or in such form that title will pass by delivery.



4.11   Securities:

       (a) To vote by proxy or in person, and exercise all rights in relation to stocks and

       securities in the Trust, including without limitation the right to consent to the

       reorganization, consolidation, liquidation, readjustment of financial structure or sale of

       the assets ofany corporation or other organization in which the Trust has an interest.



       (b) To participate in voting trusts and pooling agreements.



       (c) To exercise or sell stock subscription or conversion rights.



       (d) To open an account with a brokerage firm of the choosing of the Trustee in the

       Trustee's name, in the Trustee's own behalf, for the purpose of purchasing and selling of

       all kinds of securities and authorizing such brokerage firm to act upon any orders,

       including margin orders, options, both covered and uncovered, instructions with respect

       to such accounts and/or the delivery of securities or money therefrom and received from

       said Trustee; and to retain as an investment any securities or other property received

       through the exercise ofany ofthe foregoing powers.



       (e) To exercise any option to purchase stock under any stock option purchase plan in

       which any decedent beneficiary is a participant or may hold such option rights to the

       extent that any such option rights may be exercised by the Trustee even though the stock



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       involved is stock of a corporation which may be serving as corporate Trustee hereunder,

       regardless ofthe amount ofsuch stock or the percentage ofthe Trust Estate which maybe

       invested in such stock before or after any purchase under such option..



       (~ To buy, sell and trade in securities of any nature (including short sales) on margin,

       and for such purposes may maintain and operate margin accounts with brokers, and may

       pledge.any securities held or purchased by him with such brokers as security for loans and

       advances made to the Trustee.



       (g) To sign, deliver and/or receive any documents necessary to carry out the powers

       contained within this paragraph.



4.12   Real Estate: The Trustee shall allow the Grantor to occupy and use, until his or her

       death, any home (or any investment therein) owned by this Trust or owned or used by

       either the Grantor or his or her spouse.



               On the death of the Grantor, in the discretion of the Trustee, any home (or any

       interest therein) owned by this Trust or owned or used by the Grantor or his or her spouse

       at-the time ofthe Grantor's death may be financially supported by the Trustee for use as a

       residence by the minor children, if any, of the Grantor. The provisions ofthis Paragraph

       shall apply, notwithstanding the fact that a child having such residence is not a

       Beneficiary ofthis Trust.




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              Subject to the foregoing occupancies, any such home (or interest therein) held by

       the Trustee, or the proceeds from the sale thereof, shall be part of the principal of this

       Trust. All taxes, insurance, repairs, and assessments concerning such home shall, in the

       discretion ofthe Trustee, be paid out ofthe Trust Estate.



4.13   Precious Metals, General, Limited and Family Partnerships: The Trustee is

       empowered to operate, either solely or in conjunction with others, any business operation

       or enterprise of any nature, whether it be general, limited, or family partnership; for as

       long a time and in such a manner as the Trustee deems proper for the best interest of the

       Trust. The Trustee is empowered to purchase and sell, directly or indirectly, precious

       metals, limited partnerships of any type, investment quality gems, rare coins and stamps,

       and objects of art.



4.14   Minors: To make payments directly to minor beneficiaries, to the person with whom

       minors are living, or to a custodian under the Transfers to Minors Act, without requiring

       the appointment of a legal guardian to receive such payments. A receipt signed by the

       minor beneficiary or such other person shall discharge the Trustee ofany liability.



4.15   Continuing or Incorporating a Business: To continue, incorporate or liquidate any

       business without liability for any losses, at any time without having to comply with State

       statutes requiring periodic accounting to the Probate Court.



4.16   Reliance on Documents: To rely on affidavits, certificates, letters, statements, telegrams

       or other forms of notice which the Trustee shall believe to be genuine, without liability,


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           provided the Trustee acts in good faith and without knowledge of any condition which

           may affect distributions or operation ofthis Trust, or the status ofany beneficiary.



    4.17   Income and Princival: The Trustee shall have the power and the authority to determine

           income and principal, and to determine how receipts and disbursements, including the

           fees of the Trustee, shall be credited, charged, or apportioned as between income and

           principal; however, all such determination shall be made in accordance with the law.of

           the state of the silos of the Trust and the decision and the accounts of the Trustee in

           accordance with said provisions shall be binding on all persons in interest.

                  Notwithstanding the foregoing,the Trustee shall:

           (1)    Allocate to principal all dividends or other payments made by any

                  corporation or mutual investment company that are designated by the

                  company as a distribution of capital gains;



           (2)     Where a premium has been paid or a discount received in connection with

                  the purchase of a bond, amortize such premium or discount by making an

                  appropriate charge or credit to income as the case maybe;and,



           (3)     Charge income from time to time with a reasonable reserve for (a)

                  Depreciation of all income-producing depreciable real or personal

                   properly, and capital improvements, and extraordinary repairs on income-

                   producing property;(b) Depletion of all depletable natural resources;(c)

                   All intangible property having a limited economic life. Such allocations
i
                   and charges need not be made, however, if written consents are obtained


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              from all income Beneficiaries and Remaindermen, vested or contingent,

               living and competent to act.



4.18   Insurance: To carry such insurance, including public liability and property damage

       insurance, against such hazaxds to the Trustee or the Trust Estate, in such amounts and

       with such insurance companies as the Trustee deems advisable.



4.19   Distribution: To make distributions in cash or in kind, without liability for any disparity

       in income tax basis among beneficiaries, and the Trustee may, but need not, minimize to

       the extent possible the difference between asset values and income tax basis of property

       distributed in kind.



4.20   Claims: To arbitrate, defend, enforce, release, compromise, compound,. adjust or settle

       any and all claims in favor of or against this Trusts)in such manner and on such terms as

       it, in its sole discretion, shall deem advisable.



4.21   Employment of Agents: To engage or employ such stock, real estate or other brokers,

       banks, custodians, accountants, attorneys, investment counsel and services, insurance and

       financial consultants, and other agents, as the Trustee may deem necessary and for such

       periods of time as the Trustee shall deem proper, without liability for any mistake or

       default of any such person selected or retained with reasonable care and prudence; and to

       pay all costs, fees, assessments, taxes, insurance premiums, expenses and charges,

       including reasonable compensation to the Trustee and to any of the aforesaid persons

       employed or engaged by the Trustee in connection with the administration hereof.


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4.22   Books of Account: To keep full books of account showing the condition ofthe Trust or

       of each Trust if more than one, which shall be open at all reasonable times to the

       inspection of the current income beneficiaries of said Trust(s). To furnish to said current

       income beneficiaries annual statements of receipts and disbursements and an annual

       inventory.



4.23   Compensation of Trustee: Every Trustee shall be entitled to fair and reasonable

       compensation for services rendered by the fiduciary in an amount not exceeding the

       customary and prevailing charges for services of a similar character at the time and at the

       place such services are performed. Every Trustee shall be reimbursed for the reasonable

       costs and expenses incurred in connection with such Trustee's duties.



4.24   Generation Skipping Transfers:           To allocate any generation-skipping transfer

       exemption which maybe available with respect to the Trust Estate at the time death ofthe

       Grantor in whatever way the Trustee, in its sole discretion, may. determine to minimize

       any generation-skipping transfer taxes which may be due by reason of any generation-

       skipping transfer, either upon the Grantor's death or at any time subsequent thereto, as

       such terms are defined in the Internal Revenue Code or regulations thereto in effect at the

       time of said death and the determination by the Trustee with respect to the above shall be

       conclusive and binding on all interested parties.



4.25   Payment of Trust Expenses: The Trustee shall have the authority to pay all costs,

       charges and expenses of the Trust Estate, together with reasonable compensation for the

       Trustee's services hereunder, including services in whole or partial distribution of the



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       Trust Estate; and to employ- and compensate from the Trust Estate such agents, assistants

       and attorneys (including costs oflitigation) as in the Trustee'sjudgment shall be necessary

       to protect and manage the Trust property and the distribution of Trust assets as set forth

       herein.



4.26   Commence or Defend Litigation: The Trustee may commence or defend such litigation

       with respect to the Trust or any property of the Trust Estate as the Trustee may deem

       advisable at the expense ofthe Trust.



4.27   Spendthrift Provision: No right or interest of any beneficiary under this Trust shall be

       subject to assignment, alienation, pledge or encumbrances or be subject to attachment or

       claims of creditors, including a spouse or divorced spouse; and regardless ofthe existence

       of any other basis therefore, any such beneficiary hereunder shall be automatically

       deemed by the Trustee to become unable to manage personal financial affairs and to

       remain so until the Trustee, in its absolute discretion, determines otherwise, if, prior to the

       actual payment or distribution and without the consent or authorized act of the Trustee,

       (1) such beneficiary attempts to assign, alienate, pledge or encumber, or (2) any other

       person or entity would, but for this provision, acquire any interest in or lien upon, any

       such income or principal otherwise payable or distributable to such beneficiary. If this

       paragraph is in effect for a beneficiary upon his or her death, any trust properly remaining

       in such beneficiary's trust upon his or her death shall be distributed and/or administered in

       accordance with the terms of such beneficiary's trust as if this paragraph was not in effect

       for such deceased beneficiary.




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4.28   Power to Postpone Distribution: Notwithstanding any of the foregoing provisions

       hereunder, the Trustee shall have the power to postpone any principal distribution

       required to be made from a trust to any one or more of its beneficiaries on or after a

       beneficiary's attainment of a specific age, upon receiving such beneficiary's written

       request, or the death of a third person (and to postpone to that extent termination of such

       Trust which might otherwise be required), if the Trustee, in the Trustee's sole but

       reasonably exercised"'discretion, determines that, in viet~v of my apparent overall original

       intent, there is a compelling reason to postpone such distribution, such as the beneficiary's

       serious disability, a pending divorce, potential or pending creditor claims (possibly

       relating to such distribution), a serious tax disadvantage to such beneficiary (or such

       beneficiary's family) if such distribution were made, or similar substantial causes. Any

       such postponement of distribution may be continued by the Trustee, in whole or in part,

       from time to time, up to and including the entire lifetime of the beneficiary. While such

       postponement continues, all of the other provisions previously applicable to such Trustee

       shall continue in effect, except such beneficiary shall only receive distribution from time

       to time of such amounts from such principal and the income therefrom as the Trustee, in

       the Trustee's sole discretion, deems appropriate in the best interests of such beneficiary,

       adding to principal any income not distributed. Should a beneficiary die before receiving

       the beneficiary's postponed distribution, such distribution shall be made to the

       beneficiary's estate.



4.29   Early Termination of Trust: Notwithstanding any restrictions on distribution set forth

       in -this Agreement, if at any time any Trust created hereunder becomes too small to be

       economically managed, the Trustee, in his or her absolute discretion, may terminate that



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       Trust and distribute all property then subject to the Trust to the income beneficiaries, or

       the legal representative of such person, each income beneficiary to take an amount

       proportional to his or her interest in the Trust income, or if each income beneficiary is not

       entitled to a specified portion of Trust income, each income beneficiary is to take an equal

       amount.



4.30   General Powers: To do anything for the preservation and management of the Trust

       Estate that it deems necessary, and to exercise all powers of an absolute owner thereof.

       The Trustee may act under this Agreement without prior notice to any person and without

       the approval of any court.



4.31   Consolidation of Trusts: The Trustee may consolidate and merge for all purposes a

       trust created hereunder with any other trust created by the Grantor or any other person at

       any time, if the Trustee determines such other trust contains substantially the same terms

       as a Trust cxeated hereunder for the same beneficiary or beneficiaries, and thereafter may

       administer such consolidated and merged trusts as one; but if such consolidation and

       merger does not appear desirable or feasible, the Trustee may consolidate the assets of

       such trusts for purposes ofinvestment and administration while retaining separate records

       and accounts for the separate trusts.



4.32   Distribution Election: To elect, pursuant to the terms of any employee benefit plan,

       individual retirement plan or insurance contract, the mode of distribution ofthe proceeds

       thereof, and no adjustment shall be made in the interests of the beneficiaries to

       compensate for the effect ofthe election.


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4.33   Conditional Acceptance of Real Property: Before accepting any contributions of

       property to this trust, the Trustee shall be entitled, in its sole discretion, without cost to

       the fiduciary, and as a prerequisite to accepting any such contribution to this trust, to

       require evidence satisfactory to the Trustee that (1) the property is not contaminated by

       any hazardous or toxic materials or substances; and(2)the property is not being used and

       has never been used for any activities directly or indirectly involving the generation, use,

       treatment, storage, disposal, release, or discharge of any hazardous or toxic materials or

       substances.



4.34   Power to Disclaim Real Property: The Trustee shall have the power to disclaim any

       power which, in the sole discretion of such fiduciary, will or may cause the Trustee to be

       considered an "owner" or "operator" of property held in any trust created hereunder as

       those terms are defined in the Comprehensive Environmental Response Compensation

       and Liability Act,(CERCLA), as amended from time to time, or which shall otherwise

       cause the Executor or Trustee to incur liability under CERCLA or any other federal, state,

       or local law, rule, or regulation. The power to disclaim as contained in this section shall

       apply to any power, whether actually set forth herein, or granted or implied by any statute

       or rule oflaw.



4.35   Charitable Contributions: The Trustee may create a charitable remainder subtrust if, in

       the Trustee's discretion, such subtrust would be consistent with the Grantor's intent and in

       the best interest ofthe beneficiaries.




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                                               ARTICLE V

                              MISCELLANEOUS PROVISIONS

5.01   Word Usage and Captions: Whenever words are used herein in any gender, or in the

       singular or plural form,they shall be construed as though they were used in the gender or

       form appropriate to the .circumstances. Headings and captions of this Agreement are

       inserted for convenience or reference and constitute no part of this Agreement nor are

       they to be considered in the construction hereof.



5.02   Laws of Florida Control: This Agreement shall be construed under the laws ofthe State

       ofFlorida now or hereafter in effect.



5.03   Grantor's Right to Occupy Homestead: In the event that the Trust estate property

       includes the primary permanent residence of Grantor, Grantor shall have the exclusive

       right to use, occupy and reside in said residence during Grantor's life. It is the intent of

       this provision to preserve in Crrantor the requisite beneficial interest and possessory right

       in and to such real property to comply with Section 196.031 of the Florida Statutes, such

       that Grantor's possessory right constitutes, in all respects, "equitable title to real estate,"

       as that term is used in Section 6, Article 7, of the Constitution of the State of Florida.

       Notwithstanding anything else contained in this Trust Agreement to the contrary, the

       interest of Grantor in any real property upon which Grantor resides pursuant to the

       provision of this Trust shall be deemed to be an interest of real property and not

       personalty. So long as Grantor occupies such residence, Grantor shall be entitled to the

       homestead exemption on such properly.




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5.04   Perpetuities: Notwithstanding anything. contained herein to the contrary, each Trust

       created hereunder which at the time of last surviving Grantor's death is not certain to vest

       or terminate no later than twenty-one (21) years after the death of an individual then alive

       or within 360 years after its creation, shall in any event terminate upon the expiration of

       the period expressed in Section 689.225(2)(a) and(~ ofthe Florida Statutes, as amended,

       or any amendment thereto of similar purpose and intent. At the end of such period,

       Trustee shall distribute each remaining portion of the Trust property to the beneficiary

       thereof, and if there is more than one beneficiary, in the proportions in which they are

       beneficiaries.



5.05   No Bond Required: No Trustee named herein need give bond in any jurisdiction. If a

       fiduciary's bond may not be dispensed with, the Undersigned request that the bond be

       accepted without surety and in the lowest possible amount. In the absence of breach of

       trust, no Trustee shall ever be required to qualify before, be appointed.by, or account to

       any court, or obtain the order or approval of any court in the exercise of any power or

       discretion herein given.



5.06   Resolution of Conflict and Litigation:         Any controversy between the Trustee or

       Trustees and any other Trustee or Trustees, or between any- other parties to this Trust,

       including beneficiaries, involving the construction or application of any of the terms,

       provisions, or conditions of this Trust shall, on the written request of either or any

       disagreeing party served on the other or others, be submitted to arbitration. The parties to

       such arbitration shall each appoint one. person to hear and determine the dispute and, if

       they are unable to agree, then the two persons so chosen shall select a third impartial



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       arbitrator whose decision shall be final and conclusive upon both parties. The cost of

       arbitration shall be born by the losing party or in such proportion as the arbitrators) shall

       decide. Such arbitrations shall comply with the commercial Arbitration Rules of the

       American Arbitration Association, 140 West 51st Street, New York,New York 10200.



               The Grantor desires that this Trust, the Trust Estate and the Trust administrators

       and beneficiaries shall not be involved in time-consuming and costly litigation concerning

       the function of this Trust and disbursement of the assets. Therefore, the Grantor has

       taken great care to designate, through the provisions ofthis Trust, how he wants the Trust

       Estate distributed. Therefore, the Grantor has taken great care to designate, through the

       provisions ofthis Trust, how the Trust Estate is to be distributed.



              If litigation becomes necessary, the expense of such litigation, including costs

       incurred by representatives of the Grantors' estate, the Trustees of this Trust and their

       agents, attorneys, accountants and representatives shall be paid for by the Trust.



5.07   Competency of Grantor: The Grantor hereby declares that the Grantor may, by separate

       addendums to this Agreement, designate or appoint two (2) of the following persons,

       from one or more categories listed below, who shall be authorized and empowered to

       examine, evaluate and determine the competency ofthe appointing Grantor or Trustee of

       this Agreement:



              a)      Licensed Physician or Chiropractor

              b)      Licensed Psychologist


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             c)      Licensed Social Worker

             d)      Mental Retardation Team



             Those appointed from the above categories, hereinafter referred collectively as

      "physicians," shall be authorized and empowered to confirm in writing, in the Statement

      of Expert Evaluation or a successor document, the competency or incompetency of the

      appointing Grantor or Trustee as defined by applicable Code Sections relevant to the sites

      of the Trust or a successor code. Their joint decision shall be binding upon the Grantor,

      Trustees and Beneficiaries ofthis Trust.



             If the Grantor has not named two physicians of his choice by separate addendum,

      or if one or both of the physicians named are unable or unwilling to serve, the Grantor

      hereby authorizes his "Agent" appointed under his Designation of Health Care

      Surrogate, to name one or both physicians, as appropriate, to determine his competency

      in accordance with the foregoing provisions.



             If the Grantor or Trustee who has been declared incompetent because of mental

      impairment (caused by physical of mental illness or disability, mental retardation, or

      chronic substance abuse), by two(2)physicians, should recover and feel capable oftaking

      proper care of himself and the Trust estate; that Grantor or Trustee may have his

      competency restored by one ofthe following procedures:



      1.     Confirmation of Competency: Competency may be established according

             to the provisions of the Grantor's Competency Clause Addendum and


The JAMES STAPLETON Trust                                                                          31
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               may be confirmed in writing by two (2) physicians listed in said

               Addendum, or by any two (2) physicians appointed at the sole discretion

               of the other Co-Trustee or Successor Trustee or in the alternative by two

               (2) physicians appointed by the Grantor's "Agent" in said Grantor's

               Designation of Health Care Surrogate; or



       2.      Application to Terminate Incompetency:            Application to terminate

               incompetency may be made to a court of competent jurisdiction, within

               the jurisdiction ofthe sites ofthe Trust at that time.



5.08   Definitions: The following definitions shall be used in construction ofthis Agreement:

               a.   Family: The Family ofthe Grantor presently consists ofthe Grantor and the

       Grantor's children, VICTORIA POUNCY, ANNETTE STAPLETON, VANESSA

       WILHINS AND MARISSA STAPLETON.



               b. Child, Children, Etc.: As used herein, the word "child", "children", and "issue"

       includes persons by or through birth or legal adoption, but no issue shall lose his status by

       being adopted by another person, despite any statute to the contrary. Presently, the

       children of the Grantor consists of those children listed in subsection (a) of this

       paragraph, plus any children or individuals listed hereafter which the Grantor

       acknowledges, but intends to disinherit.



               c. Support: "Support" shall include (but shall not be limited to) the expenses of

       the last illness, funeral and burial ofa beneficiary.



The JAMES STAPLETON Trust                                                                              32
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               d. Education: The word "education" shall include (but shall not be limited to)

       tuition, room, board, books, travel, to and from school, and reasonable miscellaneous

       expenses at any public or private secondary, college, graduate, professional, vocational,

       art, music and seminary.school and any other schooling approved by the Trustee, in his or

       her absolute discretion, which the Trustee feels will enable a beneficiary to pursue a

       career and be financially independent.



               e. Health: The word "health" shall include (but shall not be limited to) all

       necessary or advisable medical, surgical, optical, dental, nursing (including practical

       nurses), diagnostic, hospital, and nursing home care, and all expenses related thereto.



5.09   Intent of Grantor Regarding .Distribution of Assets:              The Grantor, JAMES

       STAPLETON, declares he has carefully considered the distributions. that have been

       directed in this Trust Agreement and acknowledge that he has taken into consideration all

       individuals, including both relatives and non-relatives, that have been named as

       beneficiaries ofthis Trust Agreement.



              The Grantor further declares that it is his desire and intent that the provisions of

       this Trust Agreement are to remain confidential as to all parties. The Grantor directs that

       only the information concerning the benefits paid to any particular beneficiary shall be

       revealed to such individual and that no individual shall have the right to information

       concerning the benefits paid to any other beneficiary.




The JAMES STAPLETON Trust                                                                            33
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               In the event that any court oflaw determines that any individual who is not named

       as a beneficiary shall have the right to any interest in the Trust Estate, the Grantor directs

       that such individual shall be given One and no/100 Dollars($1.00)only.



5.10   Advancements:       The Trustee shall make any loan to a beneficiary or potential

       beneficiary as directed by the Grantors and the Trustee shall, reduce a beneficiary's

       share by the amount of any loans which were made to that beneficiary and which have

       not been repaid as recorded in "Schedule B".



5.11   Intention to Avoid Probate: It is the intention of the Grantor to avoid probate through

       the use of this Trust Agreement. If, however, the Trustees) of this Trust and the

       Executors) of the estate of the Grantor mutually determine that it shall be in the best

       interests of the beneficiaries of the Trust, and the beneficial interests of the beneficiaries

       shall not hereby be altered, the Trustees) may subject any asset to probate to accomplish

       a result unavailable without probate (ex.: to bar future creditor claims).



5.12   ASST Provisions: Additionally, if any stock transferred to this Trust qualifies as S-

       Corporation Stock pursuant to Internal Revenue Code Section 1361, said stock shall be

       allocated into a separate share, known as the QSST share, and shall be managed

       according to the following provisions:

               1.     During the life of the transferor of said stock, the sole

                      beneficiary of the QSST share shall be the transferor of

                      said stock.




The.JAMES STAPLETON Trust                                                                               34
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               2.        Any income or corpus of the QSST share shall be

                         distributed only to the transferor.

               3.        The transferor's right to receive income from the QSST

                         share shall terminate upon the earlier of the transferor's

                         death or the termination ofthis Trust.

               4.        If the Trust terminates during the life of the transferor, the

                         QSST share shall distribute all of its assets to the

                         transferor.

               5.        Upon the death of the transferor, the ASST share shall

                         merge with the residue ofthis Trust.



5.13   Disclaimer: A person who is to receive a beneficial interest under any Trust created by

       this instrument may disclaim all. or any portion of that interest at any time before

       accepting it or its benefits. Any person receiving a beneficial interest under any Trust

       created by this instrument may release all or any portion of that person's interest not

       previously disclaimed at any time or times after accepting a part of it or its benefits. A

       beneficial interest may be disclaimed or released with respect to amount, fractions, or

       percentages of that interest, or with respect to particular assets, as the person having that

       interest determines. Each disclaimer shall be made pursuant to the provisions of Section

       2518 of the Internal Revenue Code. In addition to any other method of disclaimer or

       release recognized by law, a beneficial interest may be disclaimed or released by an

       acknowledged instrument executed by the person disclaiming that interest, and delivered

       to the Trustee.




The JAMES STAPLETON Trust                                                                              K~
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5.14   Intention to Establish Contract: It is the Grantor's intention that the provisions of this

       Trust in general, and this section in particular, establish a contract between the Grantor,to

       convey to the Trustee,(and successor trustee), all of the Grantor's property, whether now

       owned or later acquired.




The JAMES STAPLETON Trust                                                                              ~Z~
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                                        SIGNATURE


     This is to witness that I, JAMES STAPLETON have read the provisions of this JAMES
STAPLETON Living Trust Agreement and understand the provisions therein.

        IN WITNESS WHEREOF, the provisions of the Declaration of Trust shall bind JAMES
STAPLETON as Grantor, and JAMES STAPLETON as Trustee; Successor Trustees assuming the
role of Trustee hereunder, and the Beneficiaries ofthis Trust, as well as their successors and assigns.

       This Living Trust executed at ORLANDO,Florida on            SUN 2 3 2003


                                           1,  -  ~~~~~~~~
                                         ~... ~. ~~


                                             JAMES STAPL TON
                                             TRUSTEE


Signed and sworn to(or affirmed)in the presence of:


                                                                  ,~              ~/      i
        ~•
WITNESS (Signature)




WITNESS       (Print Name)                            WITNESS      (Print Name)




The JAMES STAPLETON Trust                                                                           37
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STATE OF FLORIDA                     )
                                              SS:
COUNTY OF ORANGE                     )


        Before me this         JUN 2 3 2003         appeared JAMES STAPLETON

 who is personally known to me,or ~(~
~who produced ~` ~ o C ~ p~.Q 'lJf  ; v ~S                  ~ ~ ~- Q ~~~S Q                      as identification

as Grantor, and who, in my presence, did subscribe his name to the foregoing instrument, a Revocable
Trust, and who did swear(or affirm)that the statements contained therein are true and that he signed the
document of his own free will.


                                                             SEAL
Notary Public    (Signature)
Carl Lee Dornshuld                                                                 c Carl Lee Dornshuld
                                                                                   .`
                                                                               L"~°~s
                                                                              ~~~~

                                                                           *~~* My Commission CC943219
My commission expires:
                                                                           'ao,•,o''~ Expires June O6,2004




STATE OF FLORIDA
                                              SS:
COUNTY OF ORANGE


       Before me this         JUN 2 3 2003       appeared JAMES STAPLETON

        who is personally known to me,or
~_ who produced            ~ ~ o t;~a. 'O ~C:Y Q~' S L:~~Q,K ~as identification
 as Trustee, and who, in my presence, did subscribe his name to the foregoing instrument, a Revocable
Trust, and who did swear(or affirm)that the statements contained therein are true and that he signed the
document of his own free will.


  C--GInJ~-         ~tJ                                     SEA.,       ~~~~~~~~~~~~ Carl lee Domshuld
Notary Public    (Signature)                                           *,~~ NN Commission CC943219
                                                                        o~
Carl Lee Dornshuld                                                      ea..~ Exwres,n,ne os,sooa
My commission expires:




The JAMES STAPLETON Trust                                                                                      3g
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                                           ASSET TRANSFER

                               ACKNOWLEDGMENT AND RELEASE

         I, the Crrantor, have been advised of the importance of assuring that my Trust be properly funded

with my assets in order to accomplish my estate planning goals. I understand that the confirmation ofthe

completed transfer and the transfer of undisclosed, omitted and future assets is my sole responsibility.

We hereby release the law firm of CARL LEE DORNSHULD of any and all liability which may.arise

out of incomplete or omitted asset transfers, intending this release to be binding on our heirs and

beneficiaries. I further understand that it is my responsibility to maintain the Trust "Schedule A" list of
 S

assets in a current and complete manner.




 AMES STAPLETO
GRANTOR


Dated:           a-    ~Do3




The JAMES STAPLETON Trust                                                                              39
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                                         SCHEDULE A

                                              ASSETS

       The following Schedule of Assets is a record of any asset transferred to the Trust and includes
any memorandum attached hereto and/or any asset bearing the name ofthis Trust in its title ofownership
plus any personal property assigned to this Trust, and shall comprise the Trust Estate.

                                            Amount                Grantor's      Date Transferred/
Asset                                                             Initials       Initials of Trustee




The-JAMES STAPLETON Trust                                                                              ~.
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                                 SCHEDULE B

                                GIFTS AND LOANS


*Gift
or                                    Amount         Grantor's   Date
Loan Recipient                                       Initials




*G =Gift L =Loan



The JAMES STAPLETON Trust                                                       41
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                                            SCHEDULE C

                                   CHARITABLE DISTRIBUTIONS

                                                   Amount              Grantor's          Date
Name of Charity                                                        Initials




       For clarity and ease of distribution, charitable contributions should be expressed as a percentage

of the assets in your estate to be distributed. If you prefer, you can designate a specific portion of your

estate for charitable distributions in your Trust, then sub-divide that portion of your estate among several

charitable organizations by listing appropriate percentages.




The JAMES STAPLETON Trust                                                                                42
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                                                      SCHEDULE D

                    DESIRED DISTRIBUTION OF PERSONAL

                                                     PROPERTY


         Some of my personal belongin~?s have special meaning to me. I desire that, after my death when this Trust Estate

         is distributed, these items, as listed below, be given to the people named.




Description of Personal Prouerty                                    Desired Recipient &Relationship




Sieved                                                              Signed




The JAMES STAPLETON Trust                                                                                                   43
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                                       SCHEDULE D CONTINUED


                   DESIRED DISTRIBUTION OF PERSONAL

                                                  PROPERTY

         Some of my personal belongs have special meaning to me. I desire that, after my death, when this Trust Estate
         is distributed, these items, as listed below, be Qiven to the people named.



Descriution of Personal Property                                Desired Recipient &Relationship




Siened                                                          SiEned




The JAMES STAPLETON Trust                                                                                                ..
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                     Exhibit

                                  B
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                                          AMENDMENT
                                       of
                 THE REVOCABLE LIVING TRUST AGREEMENT ENTITLED

"The JAMES STAPLETON Revocable Living Trust, dated June 23, 2003, JAMES STAPLETON,
Grantor andlor Trustee."

                 DATE OF AMENDMENT: ~~v 5 T a $'" ~a'

       This Trust Agreement was entered into by and between JAMES STAPLETON,Grantor,ofthe
County ofORANGE,State ofFlorida and JAMES STAPLETON,Trustee, whose residence and tax
mailing address is 313 KASSIK CIRCLE,ORLANDO,FLORIDA 32824-5808.

                                             WITNESSETH
       Whereas, the Grantor made and entered into a Revocable Living Trust Agreement dated June 23, 2003; and
       Whereas, certain property was conveyed by the Grantor into said Living Trust; and
       Whereas,the Grantor now desires to amend that Living Trust; and
       Whereas, under the provisions of Revocation and Amendment contained in the afore-mentioned Living Trust,the
                Grantor reserved~the right to amend said instrument; then

       I,JAMES STAPLETON,the Grantor,do hereby amend Sub-Sections(a)and (e)of Section
3.01 and Section 4.02 of the aforementioned Trust to read as set forth on the following two pages
which are attached hereto and which provisions are fully incorporated herein by reference and made
a part hereof.

        Otherwise, said REVOCABLE LIVING TRUST AGREEMENT,shall remain the same and in
full force and effect.

       IN WITNESS WHEREOF, the provisions of the Amendment of Trust shall bind JAMES
STAPLETON as Grantor and as Trustee, as well as all Successor Trustees assuming the role of Trustee
hereunder, all the Beneficiaries ofthis Trust and all oftheir successors and assigns.

      I subscribe my name as Grantor and as Trustee to this Amendment this ~S`r"~` day of
~~~ T-- ,2008,at `3/3,Y~SS~k ~'/~ Ghc,,y~~.aJ ,Florida,in the presence ofthe attesting witnesses
whose names appear below and who subscribe their names hereto at my request and in my presence.



   MES STAPLETON,                                           JAMES STAPLETON,
  raptor                                                    Trustee

Signed and sworn to in the presence of:


WITNESS                (Signature)                            ITNESS            (Signature)

   C
WITNESS                (Print Name)
                                                             ~10~ ~- 1~2.wTNc~.J~T~
                                                            WITNESS             (Print Name)


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                                        AMENDMENT
                                                    of
                                 REVOCABLE LIVING TRUST

                                          ATTACHMENT

3.01   (a)     Division into Shares: Except as authorized in Sections 4.27 and 4.28 of ARTICLE IV or as
       specifically required in Section 3.01 (d)of ARTICLE III, the Trustee shall first make any special
       distributions as set forth below in that Subsection entitled "Special Distributions and Personal
       Property Distributions". The Trustee shall then allocate the balance ofthe Trust Assets into separate
       shares so as to provide one(1)share for each person named as a primary beneficiary ofthe Grantor.

       Each share shall be allocated as follows:

       Primary Beneficiary            Relationship to Grantor        Share                  Percent

       VICTORIA POUNCY                CHILD                          1                      14.11
       ANNETTE STAPLETON              CHILD                          1                      14.11
       VANESSA WILKINS                CHILD                          1                      14.11
       MARISSA STAPLETON              CHILD                          1                      14.11
       SHAWANA STAPLETON              CHILD                          1                      14.11
       SHANNON STAPLETON              GRANDCHILD                     1                      14.11
       TASHA TOPPIN                   GRANDCHILD                     1                      05.11
       TOYA TOPPIN                    GRANDCHILD                     1                      05.11
       TURQUOISE TOPPIN               GRANDCHILD                     1                      05.11

3.01   (e)    ~ecial Distributions and PersonalProperty Distribution: Upon the death ofthe Grantor,
       the Trustee shall make the following special distributions.

              Grantor's daughter, Marissa Stapleton, shall receive whatever house is owned by the Trust,
       whatever real estate it is situated upon and all things described in the Grantor's document entitled
       "ASSIGNMENT OF FURNITURE,FURNISHINGS AND PERSONAL EFFECTS".

               Grantor's daughter,Marissa Stapleton,shall receive allthe money that comes into the Trustfrom
       the Nationwide life insurance policy number 4263157 as a result ofthe Trust having been named the
       beneficiary ofsaid policy.

              Grantor's daughter, Marissa Stapleton, shall receive all ofthe money that comes into the Trust
       from the McCoy Credit Union account number 127532.
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                                         AMENDMENT
                                                      of
                                  REVOCABLE LIVING TRUST

                                            ATTACHMENT

                                        Section 3.01 (e)Continued

                The Grantor requests the Trustee to abide by "Schedule D" which is the Grantor's intentions
       directing the disposition ofpersonal and household effects ofevery kind including, but not limited to
       furniture, appliances, furnishings, pictures, china, silverware, glass, books,jewelry, wearing apparel,
       and all policies offire, burglary,property damage,and other insurance on or in connection with the use
       ofthis property. Otherwise,the personal and household effects ofthe Grantor shall be distributed with
       the remaining assets ofthe Trust Estate.

               Except as authorized in Sections 4.27 and 4.28 of ARTICLE IV or as specifically required in
       Section 3.01 (d)of ARTICLE III, the Trustee may also, if he or she considers it advisable to do so,
       distribute or advance from said special distributions, at any time,to the intended beneficiaries, without
       interest, sufficient amounts to enable them to marry; to purchase a home; enter, purchase or improve
       a business;establish a professional office;take post-graduate work;purchase an automobile;orfor other
       similar purposes. The Trustee's decision shall be final in all events.

               In the eventthat any intended beneficiary ofa special distribution predeceases the distribution
       or refuses the distribution, and there is no alternate designated to receive that distribution, or the
       alternate is also deceased or refuses the distribution, then the portion ofthis Trust which has been
       allocated for that special distribution shall be included with the balance of the Trust Estate for
       division into shares.

4.02   Successor Trustee(s): Upon the death ofthe original Trustee,or iffor any reason whatsoever he ceases
       to serve as Trustee hereunder, the Grantor nominates and appoints, my CHILD,. MARISSA
       STAPLETON to serve as Trustee hereunder without the approval of the court. If MARISSA
       STAPLETON is unable or unwilling to serve,or to continue to serve,for any reason whatsoever,then
       and in that event the Grantor nominates and appoints, my GRANDCHILD, SHAWANA L.
       STAPLETON to serve as Trustee hereunder, without the approval ofany court. If SHAWANA L.
       STAPLETON is unable or unwilling to serve,or to continue to serve,for any reason whatsoever,then
       and in that event the Grantor nominates and appoints, my GRANDCHILD, SHANNON J.
       STAPLETON to serve as Trustee hereunder, without the approval ofany court.




                                            Page Three of Three
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STATE OF FLORIDA
                                                                ~.
                                             SS: !l'/ /~..~'G ~
COUNTY OF d ~aN6,~.

       We,whose names are signed below,having been duly sworn,declared to the undersigned officer
that the statements attributed to us in the attached or foregoing AMENDMENT dated
                                      which amends the Living Trust entitled "The JAMES
STAPLETON Revocable Living Trust, dated June 23, 2003, JAMES STAPLETON, Grantor
and/or Trustee.", are true.




                                                   JAMES ST PLET N


~  ~~ iJ/ ~~
WITNESS (Signature)
                    ~         ~-'~
                             ~~         -
                                                     ITNESS         (Signature)

,~~~ h/ ~.~1GL~=~,~                                 ~-1 opt~- ~~.~-T H~ w~'~T~.
WITNESS      (Print Name)                          WITNESS         (Print Name)


       Before me this a5~h AV~~,v~st,~.p~g ,appeared JAMES STAPLETON
       who is personally known to me,or
       who produced JL S31 y-- ~yo - a(fl -'~$a- O                                                 as identification

       and '~L~ON Zj. ~ L.Lt,N                                                                            ,a witness,
       who is personally known to me, or
  ~    who produced     ~jL Q ~~~~S O - Cp~- 35 - ~-lo ~ - ~                                       as identification

   and     ~L,O~\ A 1~,g~Z A~ 1r1 W A\~                                                                   ,a witness,
   who is personally known to me, or
_~ who produced ~ (~33- a.~ 1 - a~ - $O3 — d                                                       as identification

and who,in my presence and in the presence ofeach other, did subscribe their names to the foregoing,
an Amendment to a Revocable Living Trust Agreement, and to this Notarial Certificate, and who did
swear that the statements attributed to them are true and that they signed oftheir own free will.



         - ~~1             ~~a
                             ~~                      NOTARY SEAL
Notary Public   (Signature)

                                                           ~,N~"^,fie,    Notary Public State of Fbrida
                                                                   `~     Martina R Rodriguez
Notary Public (Print Name)                                                My Commission DD542478
                                                           ~aw~~         'Expues0411s12010
My Commission Expires ~„~ ~c,~          ~~


                                   :s
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                     Exhibit

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                            LAST WILL AND TESTAMENT

                                               OF

                                    JAMES STAPLETON

       I, JAMES STAPLETON, a resident and domiciled in ORANGE,Florida, being of sound

and disposing mind and memory, do hereby make, publish and declare this to be my Last Will &

Testament, and hereby revoke all prior Wills and codicils to wills, which I may have made.




                                         ARTICLE 1

                                           FAMILY

       For information purposes, at the time of the execution of this Will, my family status is as

follows. My children are, VICTORIA POUNCY, ANNETTE STAPLETON, VANESSA

WILKINS AND MARISSA STAPLETON. References to "my children" or"my child" mean my

children or my child named above.



                                         ARTICLE 2

                        TREATMENT OF BODILY REMAINS

       I direct that my bodily remains be disposed of in a manner in which my Personal

Representatives) deems fit and proper. My Personal Representatives) shall pay all costs associated

with burial expenses.




Last Will and Testament ofJAMES STAPLETON                                                            1
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                                         ARTICLE 3

        SPECIFIC GIFTS OF TANGIBLE PERSONAL PROPERTY

      I make the following gifts:



      3.1    ~narate i,ist fir Tangible Personal Prnnertp: I may make gifts of tangible

      personal property by means ofone or more separate written lists. To be effective, a separate

      list must be signed by me, and must identify the items and persons to receive them with

      reasonable certainty. If there is a conflict, I confirm the gift of that item made in the most

      recent list. My Personal Representatives) will not be bound by any written list produced or

      discovered more than two months after my death.



      3.2    ether Gifts: I give all my remaining tangible personal property not given by other

      provisions of this article, including furniture, household furnishings, motor vehicles,

      clothing, jewelry, and personal effects (together with all insurance on those items), to my

      Trust as identified in ARTICLE 4 below.



      3.3    Trust for Miners: If any beneficiary under this article is a minor, that beneficiary's

      inheritance shall be held in the above mentioned Trust and the Trustee shall hold that

      beneficiary's share for the use and benefit of the beneficiary during his or her minority.

      Alternatively, the Trustee in its discretion may cause all or any part of said share to be:

      distributed to the beneficiary or to any adult having custody ofthe beneficiary whenever the

      Trustee deems appropriate; sold and the proceeds used for the benefit ofthe beneficiary; sold

      and the proceeds added to the share of my estate to be held in trust for the beneficiary; or




Last Will and Testament ofJAMES STAPLETON                                                              2
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        disclaimed for and on behalfofthe beneficiary.



                                           ARTICLE 4

                                   RESIDUARY ESTATE

        I give all my residuary estate to the then serving trustees of ~~The STAPLETON Revocable

Living Trust, dated June 23, 2003, JAMES STAPLETON, Grantor and/or Trustee", created

prior to the execution of this Will(referred to in this Will as "my Revocable Trust"), as it now exists

or may be amended after the execution of this Will, for administration under its terms. If the gift to

that trust is ineffective for any reason, I give all my residuary estate to my Personal

Representative(s), acting as Trustees)("the Trustees"), upon the same terms and conditions set forth

in that trust as of this date. I incorporate those terms by reference, but only for the purpose of this

contingent gift.



                                           ARTICLE 5

              APPOINTMENT OF PERSONAL REPRESENTATIVE

       I appoint my CHILD, MARISSA STAPLETON, to serve as my Personal Representative.

If MARISSA STAPLETON is unable or unwilling to serve, or to continue to serve, for any

reason whatsoever, then and in that event I appoint my GRANDCHILD, SHAWANA L.

STAPLETON, to serve as my alternate Personal Representative.                     If SHAWANA L.

STAPLETON is unable or unwilling to serve, or to continue to serve, for any reason

whatsoever, then and in that event I appoint my GRANDCHILD,SHANNON J. STAPLETON,

to serve as my alternate Personal Representative.

       I direct that no Personal Representative be required to post bond or other security.



Last Will and Testament ofJAMES STAPLETON                                                                 3
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                                            ARTICLE 6

                                  SURVIVAL PROVISIONS

        If any beneficiary is required to survive me or another person to receive a distribution, and if

the beneficiary does not survive me or that other person by 90 days, or if that beneficiary cannot be

located within one year after my death despite reasonable attempts by the Trustees) to locate that

beneficiary, the beneficiary will be treated as if he or she died before me or that other person.



                                            ARTICLE 7

           PAYMENTS OF OBLIGATIONS,EXPENSES AND TAXES

        My Personal Representatives) shall pay all of my obligations, expenses, and taxes as

follows:



        7.1     nbligatinns~     I direct that my legally enforceable obligations (except those

        secured by mortgages or other security instruments) be paid in the order and manner

       prescribed by law.



       7.2      F,xnensec and Taxes: The term "expenses" includes all estate transmission or

        management expenses of my probate estate and all costs of my last illness and funeral; the

       term "estate taxes" means all state and federal estate, inheritance, or transfer taxes payable by

       reason of my death (including the generation-skipping transfer tax on any direct skip created

       by the express terms of this Will rather than by disclaimer), plus any related interest and

       penalties attributable to these taxes, but excluding any other generation-skipping taxes. I

       direct that all expenses of my estate and all estate taxes charged with respect to my gross



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        estate for estate tax purposes (including estate taxes on assets that do not pass under this

        Will) be paid by the Trustee of my Revocable Trust, as pernutted under 733.817 and despite

        738.05 of the Florida Statutes. For these purposes, I incorporate by reference the tax

        apportionment provisions of my Revocable Trust. To the extent these amounts are not paid

        by my Revocable Trust, they are to be paid from my residuary estate, without

        apportionment, except to the extent provided in my Revocable Trust as to non-probate and

        nontaxable assets.



                                           ARTICLE 8

                                    FIDUCIARY POWERS

        I grant to my Personal Representatives) and the Trustees)(collectively referred to as "the

Fiduciary") full power to deal freely with any property in my estate. The Fiduciary may exercise

these powers independently and without the approval of any court. No person dealing with the

Fiduciary need inquire into the propriety of any of its actions or into the application of any funds or

assets. The Fiduciary shall, however, exercise all powers in a fiduciary capacity for the best interest

of the beneficiaries of my estate, which for purposes of this article includes any trust created in this

Will. Without limiting the generality of the foregoing, the Fiduciary is given the following

discretionary powers in addition to any other powers conferred by law:



        8.1     Tvne of Assets Except as otherwise provided to the contrary, to hold funds un-

        invested for such periods as the Fiduciary deems prudent, and to invest in any assets the

        Fiduciary deems advisable even though they are not technically recognized or specifically

        listed in so-called "legal lists," without responsibility for depreciation or loss on account of




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      those investments, or because those investments are non-productive, as long as the Fiduciary

      acts in good faith.



      8.2     original Assets: Except as otherwise provided to the contrary, to retain the original

      assets it receives for as long as it deems best, and to dispose of those assets when it deems

      advisable, even though such assets, because of their character or lack of diversification,

      would otherwise be considered improper investments for the Fiduciary.



      8.3     Tangible Personal Prnnert~ To receive and hold tangible personal property; to

      pay storage and insurance charges for such property; to pernut any beneficiaries to use such

      property without either the Fiduciary or beneficiaries incurring any liability for wear, tear,

      and obsolescence of the property; and in its discretion to abandon or dispose of any such

      property which has little or no monetary or useful value after having consulted with the

      beneficiaries or their legal representatives.



      8.4     ~n ..ifi ~ . »riti .s: To invest in assets, securities, or interests in securities of any

      nature, including (without limit) commodities, options, futures, precious metals,

      currencies, and in domestic and foreign markets and in mutual or investment funds,

      including funds for which the Fiduciary or any affiliate performs services for additional

      fees, whether as custodian, transfer agent, investment adviser or otherwise, or in securities

      distributed, underwritten, or issued by the Fiduciary or by syndicates of which it is a

      member; to trade on credit or margin accounts(whether secured or unsecured); and to pledge

      assets of my estate for that purpose.




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      8.5     Prn}~erty Transactions: To buy, sell, exchange, or lease any real or personal

      property, publicly or privately, for cash or credit, without court approval and upon the terms

      and conditions that the Fiduciary deems advisable; to execute deeds, leases, contracts, bills

      of sale, notes, mortgages, security instruments, and other written instruments; to improve,

      repair, insure, subdivide and vacate any property; to adjust boundaries; and to impose

      easements, restrictions, and covenants as the Fiduciary sees fit. A lease will be valid and

      binding for its full term even ifit extends beyond the full duration of my estate.



      8.6     Rnrrnw Mnnev: To borrow money from any source (including the Fiduciary in its

      non-fiduciary capacity), to guarantee indebtedness, and to secure the loan or guaranty by

      mortgage or other security interest.



      8.7     Maintain Assets To expend whatever funds it deems proper for the preservation,

      maintenance, or improvement of assets. The Fiduciary in its discretion may elect any

      options or settlements or exercise any rights under all insurance policies that it holds.

      However, no fiduciary who is the insured of any insurance policy held in my estate may

      exercise any rights or have any incidents of ownership with respect to the policy, including

      the power to change the beneficiary, to surrender or cancel the policy, to assign the policy, to

      revoke any assignment, to pledge the policy for a loan, or to obtain from the insurer a loan

      against the surrender value of the policy. All such power is to be exercised solely by the

      remaining Fiduciary, if any, or if none, by a special fiduciary appointed for that purpose by a

      court having jurisdiction.




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      8.8     Advisers     To employ and compensate attorneys, accountants, advisers, financial

      consultants, managers, agents, and assistants (including any individual or entity who

      provides investment advisory or management services, or who furnishes professional

      assistance in making investments for my estate) without liability for any act ofthose persons,

      if they are selected and retained with reasonable care. Fees may be paid from the

      domiciliary estate even if the services were rendered in connection with ancillary

      proceedings. The Fiduciary may serve in any of these capacities and be compensated

      separately for its services in each.



      8.9     indirect Distrihutinns: To make distributions, whether of principal or income, to

      any person under age 21 or to any incapacitated person according to the terms ofthis Will by

      making distributions directly to that person whether or not the person has a guardian; to the

      parent, guardian, or spouse ofthat person; to a custodial account established by the Fiduciary

      or others for that person under an applicable Uniform Gift to Minors Act or Uniform

      Transfers to Minors Act; to any adult who resides in the same household with that person or

      who is otherwise responsible for the care and well-being of that person; or by applying any

      distribution for the benefit of that person in any manner the Fiduciary deems proper. The

      receipt ofthe person to whom payment is made will constitute full discharge ofthe Fiduciary

      with respect to that payment.



      8.10   lYon-Pro Rata nistribution: To make any division or distribution in money or in

      kind, or both, without allocating the same kind of property to all shares or distributees, and

      without regard to the income tax basis of the property. Any division will be binding and




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      conclusive on all parties.



      8.11   1Y~niv~.e: Except as prohibited by law, to hold any assets in the name of a nominee

      without disclosing the fiduciary relationship; to hold the property unregistered, without

      affecting its liability; and to hold securities endorsed in blank, in street certificates, at a

      depository trust company,or in a book entry system.



      8.12   (''»stodian: To employ a custodian or agent ("the Custodian") located anywhere

      within the United States, at the discretion of the Fiduciary but at the expense of my estate,

      whether or not such Custodian is an affiliate of the Fiduciary or any person rendering

      services to my estate; to register securities in the name ofthe Custodian or a nominee thereof

      without designation of fiduciary capacity; and to appoint the Custodian to perform such

      other ministerial functions as the Fiduciary may direct. While such securities are in the

      custody ofthe Custodian, the Fiduciary will be under no obligation to inspect or verify such

      securities nor will the Fiduciary be responsible for any loss by the Custodian.



      8.13   Settle Claims: To compromise, arbitrate, or otherwise adjust claims in favor of or

      against my estate, to agree to any rescission or modification of any contract or agreement,

      and to refrain from instituting any suit or action unless indemnified for reasonable costs and

      expenses.



      8.14   ('orn~rate Rig ts~ To vote and exercise any option, right, or privilege to purchase

      or to convert bonds, notes, stock (including shares or fractional shares of stock of any




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      Corporate Fiduciary), securities, or other property; to borrow money for the purpose of

      exercising any such option, right, or privilege; to delegate those rights to an agent; to enter

      into voting trusts and other agreements or subscriptions; to participate in any type of

      liquidation or reorganization of any enterprise; and to write and sell covered call options,

      puts, calls, straddles, or other methods of buying or selling securities, as well as all related

      transactions.



      8.15   Party Tnterests~ To hold interests in sole proprietorships, general or limited

      partnerships,joint ventures, business trusts, land trusts, limited liability companies, and other

      domestic and foreign forms of organizations; and to exercise all rights in connection with

      such interests as the Fiduciary deems appropriate, including any powers applicable to a non-

      admitted transferee ofany such interest.



      8.16    Self-nealinu~ To exercise all its powers even though it may also be acting

      individually or on behalf of any other person or entity interested in the same matters.

      The Fiduciary, however, shall exercise these powers at all times in a fiduciary capacity,

      primarily in the interest of the beneficiaries of my estate. Despite any other provision of

      this Will, no Fiduciary may participate in the decision to make a discretionary

      distribution that would discharge a legal support obligation of that Fiduciary. All power

      to make such distributions will be exercised solely by the remaining Fiduciaries, if any,

      or if there are no other Fiduciaries then serving, by the person or persons named to serve

      as the next successor Fiduciary, or if there are none, by a special Fiduciary appointed for

      that purpose by a court having jurisdiction.




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      8.17    F.lect,~u~: To perform in a fiduciary capacity any act and make any and all decisions

      or elections under state law or the Internal Revenue Code on behalf of me or my estate,

      including but not limited to, joining in the filing of income and gift tax returns with my

      surviving spouse, claiming the whole or any part ofthe expenses ofadministration as income

      tax deductions for my estate, and selecting taxable years and dates of distribution. The

      Fiduciary is specifically excused from making equitable adjustments among beneficiaries

      because ofany election.



      8.18    nualified Prnnerto: To manage any qualified real property or qualified family-

      owned business interests so as to avoid imposition ofthe additional estate tax under Sections

      2032A or 2057 ofthe Internal Revenue Code, and to furnish security for the payment of any

      additional estate taxes imposed under those sections.



      8.19   FCC eases. To deternune, in a fiduciary capacity, how expenses of administration

      and receipts are to be apportioned between principal and income.



      8.20   Terminate small Trusts: To exercise its discretion to refrain from funding or to

      terminate any trust whenever the value of the principal of that trust would be or is too

      small to administer economically, and to distribute the remaining principal and all

      accumulated income of the trust as provided in Section 8.9 to the beneficiaries then

      entitled to receive income in proportion to their shares of that income (or on a per capita

      basis if their shares are not fixed). The Fiduciary shall exercise this power to terminate in

      its discretion as it deems prudent for the best interest of the permissible income




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      beneficiaries at that time. This power cannot be exercised by my spouse or a beneficiary,

      either alone or in conjunction with any other Trustee, but must be exercised solely by the

      other Trustee, or if none, by a special Trustee appointed for that purpose by a court

      having jurisdiction.



      8.21    Allocation t~ PrincinaL• To treat premiums and discounts on bonds and other

      obligations for the payment of money in accordance with either generally accepted

      accounting principles or tax accounting principles and, except as otherwise provided to the

      contrary, to hold nonproductive assets without allocating any principal to income, despite

      any laws or rules to the contrary.



      8.22   Ilse of Income: Except as otherwise provided in this Will, and in addition to all

      other available sources, to exercise its discretion in the use of income from the assets of my

      estate to satisfy the liabilities described in this Will, without accountability to any

      beneficiary.



      8.23   Sever Tr»stc: To sever any trust on a fractional basis into two or more separate

      trusts, and to segregate by allocation to a separate account or trust a specific amount from, a

      portion of, or a specific asset included in any trust. The Fiduciary may consolidate two or

      more trusts (including trusts created by different transferors) having identical beneficial

      terms and conditions into a single trust. A trust created by severance or consolidation will be

      treated as a separate trust for all purposes from the date on which the severance or

      consolidation is effective, and will be held on the same beneficial terms and conditions as




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      those before the severance or consolidation. Income earned on a consolidated or severed

      amount, portion, or specific asset after the consolidation or severance is effective will pass

      with that amount, portion, or specific asset.



      8.24    C".onc~lidated Funds Unless inconsistent with other provisions ofthis Will, to hold

      two or more trusts or other funds in one or more consolidated funds, in which the separate

      trusts or funds have undivided interests, except that an accounting must be rendered to each

      trust showing its undivided interests in those funds.



      8.25    Valuations In making distributions or allocations under the terms of this Will to be

      valued as of a particular date, the Fiduciary may use asset valuations obtained for a date

      reasonably close to that particular date (such as a quarterly closing date before or after that

      date)if, in the Fiduciary's judgment, obtaining appraisals or other deternunations of value on

      that date would result in unnecessary expense, and if in the Fiduciary's judgment, the fair

      market value as deternuned is substantially the same as on that actual date. This paragraph

      will not apply if valuation on a specific date is required to preserve a qualification for a tax

      benefit, including any deduction, credit, or most favorable allocation ofan exemption.



      8.26   Tncor oration:      To incorporate any business or venture, and to continue any

      unincorporated business that the Fiduciary deternunes to be not advisable to incorporate.



      8.27   relegation: To delegate periodically among themselves the authority to perform any

      act ofadministration of my estate.




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      8.28    Advances To make cash advances or loans to beneficiaries, with or without

      security.



      8.29    investment Manager. To employ any investment management service, financial

      institution, or similar organization to advise the Fiduciary and to handle all investments of

      my estate and to render all accountings of funds held on its behalf under custodial, agency,

      or other agreements. Ifthe Fiduciary is an individual, these costs may be paid as an expense

      ofadministration in addition to fees and commissions.



      8.30    nenreciation: To deduct from all receipts attributable to depreciable property a

      reasonable allowance for depreciation, computed in accordance with generally accepted

      accounting principles consistently applied.



      8.31    nisclaim Assets nr Pnwers: To disclaim any assets otherwise passing or any

      fiduciary powers pertauung to any trust created hereunder, by execution of an instrument of

      disclaimer meeting the requirements of applicable law generally imposed upon individuals

      executing disclaimers. No notice to or consent ofany beneficiary, other interested person, or

      any court is required for any such disclaimer, and the Fiduciary is to be held harmless for any

      decision to make or not make such a disclaimer.



      8.32    Transfer ~ituc~ To transfer the sites of any trust or any trust property to any other

      jurisdiction as often as the Fiduciary deems advisable, and ifnecessary to appoint a substitute

      or ancillary Trustee to act with respect to that property. The Fiduciary may delegate to the




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      substitute Trustee any or all ofthe powers given to the Fiduciary; may elect to act as advisor

      to the substitute Trustee and receive reasonable compensation for that service; and may

      remove any acting or substitute Trustee and appoint another, or reappoint itself, at will.



      8.33    Related Parties. To enter into any transaction on behalf of my estate despite the fact

      that another party to that transaction may be: (i) a business or trust controlled by the

      Fiduciary, or of which the Fiduciary, or any director, officer, or employee of the Corporate

      Fiduciary, is also a director, officer, or employee;(ii) an affiliate or business associate of any

      beneficiary or the Fiduciary; or (iii) a beneficiary or Trustee under this Will acting

      individually, or any relative ofsuch a party.



      8.34    Additional Powers for income-Producing Real F,state~ In addition to the other

      powers set forth above or otherwise conferred by law, the Fiduciary has the following

      powers with respect to any income-producing real- property which is or may become a

      part of my estate:



             (i)      To retain and operate the property for as long as it deems advisable;



             (ii)     To control, direct, and manage the property, determining the manner and

             extent of its active participation in these operations, and to delegate all or any part of

             its supervisory power to other persons that it selects;



             (iii)    To hire and discharge employees, fix their compensation, and define their




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                duties;



               (iv)       To invest funds in other land holdings and to use those funds for all

               improvements, operations, or other similar purposes;



               (v)        Except as otherwise provided with respect to mandatory income

               distributions, to retain any amount of the net earnings for working capital and other

               purposes that it deems advisable in conformity with sound and efficient

               management; and



               (vi)       To purchase and sell machinery, equipment, and supplies of all kinds as

               needed for the operation and maintenance ofthe land holdings.




                                         ARTICLE 9

                                    TAX ELECTIONS

       I direct my Personal Representatives) to make federal estate and generation-skipping tax

elections as instructed by the Trustees of my Revocable Trust with respect to transfers under that

trust. My Personal Representatives) are to be held harmless from any liability in making elections

as directed by those Trustees.




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                                      ARTICLE 10

                                 NONMUTUAL WILL

       This is not a mutual or reciprocal Will with any Will executed by any other person. Any

other person may amend, revoke, or redraw his or her Will at any time, regardless of any interest he

or she may receive under this Will.



                                       ARTICLE 11

                 TRANSACTIONS WITH OTHER ENTITIES

       My Personal Representatives) may buy assets from other estates or trusts, or make loans to

them, so that funds will be available to pay claims, taxes, and expenses.             My Personal

Representatives) can make those purchases or loans even if they serve as the fiduciary ofthat estate

or trust, and on whatever terms and conditions my Personal Representatives) think are appropriate,

except that the terms ofany transaction must be commercially reasonable.




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       IN WITNESS WHEREOF, I have hereunto set my hand and declared this to be my Last

Will and Testament on /~7i~r~ jd-5-, ~~


                                      ~u~-~
       Executed at ~~3 ~
                       1 %6tt~c C~ ~i° t~ Florida, on /~1~~u ~7~-~', ~v~




                                                          '         ,   J _,




       This instrument was signed, sealed, published, and declared by the testator as his Last Will in

our joint presence, and at his request we have signed our names as attesting witnesses in his presence

and in the presence ofeach other on the date first written above.




                                                      ~3f~ ,~'r~'~s/ ~ ~,~~<e
WITNESS (Signature)
                                                       ~,~L~v v -~~, ~z~z~

WITNESS       (Print Name)


                                                        ~~~~~II~h                      G +~e('~
                  t   ~


                                                         ~i~~~-nda IG1 3~~y
WITNESS       (Print Name)




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STATE OF FLORIDA
                                               ss: iii ~~~~ ~~
couly~ of O ~~,~~~
        I, JAMES STAPLETON,the testator, having been duly sworn, do swear that the contents
contained in the attached or foregoing instrument, a Last Will and Testament, are true and that I
signed said document of my own free will.

         We, the testator and the witnesses whose names are signed to the attached or foregoing
instrument, and whose names are signed below, having been sworn, declared to the undersigned
officer that the testator, in the presence of the witnesses, signed the instrument as his Last Will and
Testament, that he signed willingly, and that each ofthe witnesses, in the presence ofthe testator and
in the presence ofeach other, signed the Last Will and Testament as a witness.



                                                                             t     ~



  ~~~~XiC7")/1
WITNESS         (Signature)



WITNESS         (Print Name)                           WITNESS        (Print Name)

    Before me this aJ ~~~AV1C-a~oz3 ,appeared JAMES STAPLETON,the testator,
    who is personally known to me,or
  ✓ who produced ~~. 531~-~~0 -'c1~ -- a-$'~y-O               as identification

       and        '~~-  \O~ ~. (~ l.l..~c.~                      ,a witness
       who is personally known to me,or
       who produced      ~, L,. ~ X50 -OO~' "3S --~~o ~- d as identification

      and         ~o LO2\ A q ,~6ZLa            ~ ~-!~J~ 1it                             , a witness
       who is personally known to me,or
  ~/ who produced ;Tj1,~. F,~(       033 -- a.S~ -- a5-      '  $~3 -~ C7          as identification
and who,in my presence, did subscribe their names to this and the foregoing instrument, a Last Will
and Testament, and did swear to(or affirm)the statements attributed to them above.

                                                               NOTARY SEAL
Notary Public     (Signature)

                                                                       ~o*'"~     Notary Public State of Fbrida
                                                                             ~    Martina R Rodriguez
Notary Public   (Print Name)                                           ~j         My Commission DD542478
My commission expires:     ~~~q ~ ao~ ~                                ~"aw~     "Expires 04/19/2010




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